Case 2:21-cv-01106-ILRL-KWR Document 1-1 Filed 06/08/21 Page 1 of 26




   EXHIBIT A
              Case 2:21-cv-01106-ILRL-KWR Document 1-1 Filed 06/08/21 Page 2 of 26


Melanie Derefinko

From:                              David Scalia <dscalia@dugan-lawfirm.com>
Sent:                              Sunday, May 16, 2021 1:16 PM
To:                                Drake D. Foster
Cc:                                James Dugan; drplymale@plymalelawfirm.com
Subject:                           RE: DLF v KCC-CDC for the Parish of Orleans-21-4133 Div "M" Docket 13


Also Drake, please advise via return e-mail if you will waive formal service of the Citation and Petition.
Thanks,

David S. Scalia, Esq.
The Dugan Law Firm, APLC
365 Canal Street, Suite 1000
New Orleans, LA 70130
PH: (504)648-0180
FX: (504)648-0181

The information contained in this electronic message and any attachments thereto are attorney privileged and
confidential information intended only for the use of the owner of the e-mail address listed as the recipient of this
message. If you are not the intended recipient, or the employee or agent responsible for delivering this message to the
intended recipient, you are hereby notified that any disclosure, dissemination, distribution, or copying of this
communication or its attachments is strictly prohibited. If you are not the intended recipient and have received this
transmission in error, please immediately notify us by return e-mail.




From: David Scalia
Sent: Sunday, May 16, 2021 12:53 PM
To: Drake D. Foster <DFoster@kccllc.com>
Cc: James Dugan <jdugan@dugan-lawfirm.com>; drplymale@plymalelawfirm.com
Subject: DLF v KCC-CDC for the Parish of Orleans-21-4133 Div "M" Docket 13

Drake, please see attached a courtesy copy of the Petition filed in Civil District Court for the Parish of Orleans on
5/14/21.

Best,
David S. Scalia, Esq.
The Dugan Law Firm, APLC
365 Canal Street, Suite 1000
New Orleans, LA 70130
PH: (504)648-0180
FX: (504)648-0181

The information contained in this electronic message and any attachments thereto are attorney privileged and
confidential information intended only for the use of the owner of the e-mail address listed as the recipient of this
message. If you are not the intended recipient, or the employee or agent responsible for delivering this message to the
intended recipient, you are hereby notified that any disclosure, dissemination, distribution, or copying of this


                                                              1
             Case 2:21-cv-01106-ILRL-KWR Document 1-1 Filed 06/08/21 Page 3 of 26
communication or its attachments is strictly prohibited. If you are not the intended recipient and have received this
transmission in error, please immediately notify us by return e-mail.




                                                            2
       Case 2:21-cv-01106-ILRL-KWR Document 1-1 Filed 06/08/21 Page 4 of 26



               CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS
                                    STATE OF LOmSIANA


NO: ', •{ ^':~\^ ^\ \: . DIVISION:" " DOCKET: 1^ • y
                                                                                     •::, ^ -n



          THE DUGAN LAW FIRM, A PROFESSIONAL LAW CORPORATION \ rn


                                                                                      —\
                                             VERSUS



                       KURTZMAN CARSON CONSULTANTS, LLC



FILED:
                                                      DEPUTY CLERK

                       PETITION FOR DECLARATORY JUDGMENT

        NOW INTO COURT, comes THE DUGAN LAW FIRM, A PROFESSIONAL LAW

CORPORATION (hereafter "DLF"), by and through undersigned counsel, and for its Petition

respectfully states:


                                                 I.


                                         INTROUCTION
         1. DLF is a New Orleans based law firm operating primarily in the areas of


nationwide mass tort and class action litigation since 2001.


         2. MASS tort litigation is by its nature complex and requires managing the files of


hundreds if not thousands of individual claimants, each with their own case, and each requiring


their own proof of product identification and exposure, injury, and damages. Unlike class


actions, plaintiff attorneys in mass tort litigation represent hundreds or even thousands of clients


mostly obtained by attorney marketing, all of whom then need to have their individual facts and


circumstances of their cases reviewed. This inventory of cases then needs to be organized and


stored in an accessible manner.


         3. Mass tort litigation continues to grow. It can trace its history to the 1960s and


early 1970s, when attorneys began representing plane crash victims. In the seventies mass torts


expanded with toxic exposure cases such as the Viet Nam era Agent Orange exposure litigation,


and then Asbestos litigation. Later, in the nineties, mass torts expanded further with tobacco


litigation. In the 2000s mass tort litigation grew further with consumer products, as well

pharmaceutical and medical device litigation. As these numbers grew, so did the number of
         Case 2:21-cv-01106-ILRL-KWR Document 1-1 Filed 06/08/21 Page 5 of 26



claimants pursuing claims, creating larger and larger inventories of cases to be managed and


organized. Because large number of claims and the complexity of mass tort litigation, law firms


engaged in the practice of mass tort litigation often engage the litigation support services of a

third party a mass tort administrator.


         4. Kurtzman Carson Consultants, LLC (hereafter "KCC"), founded in 200 1, has


been in business providing Corporate Restmcturing Services, Claims Administration and


Noticing Services, High-volume Production and Distribution Services, Class Action Services,


and Virtual Data Room (VDR) Services.1

          5. As the number of mass tort cases continued to grow, in or about the early 2010s


KCC decided to expand its services to include Mast Tort administrative services, including but


not limited to client intake and retention, client communication, medical record retrieval and


review, plaintiff fact sheet (PFS) completion and filing, discovery assistance, settlement


negotiation, lien resolution, and funds disbursement.


         6. KCC holds itself out as having expertise as a mass tort administrator that provides


services to maximize the value of mass tort firms' leads, navigating them from intake through


qualification, to medical records review, through discovery requirements, moving forward to


settlement, lien resolution, and finally, distribution. KCC states that it brings expertise, value,


and high-quality service to each case, carefully managing each by its team of experienced


consultants with decades of experience and a deep understanding of the distinctive needs


associated with complex mass tort administration2.



                                                       II.


                                                  PARTIES

         7. The Dugan Law Firm, APLC is a Louisiana Professional Law Corporation, a


citizen of the State of Louisiana, and domiciled in the Parish of Orleans with its principal place

of business located at 365 Canal Street, One Canal Place, Suite 1000, New Orleans, Louisiana,

70130.

         8. KCC, LLC is a foreign limited liability company with principal offices in Los

Angeles, California, and additional offices in Louisville, Kentucky, New York, New York, and




' See Liakedln page: https://www.lmkedin.com/company/l<cc-llc/about/ (Last visited May 10, 2021)
  https://www.kccllc.com/our-services/mass-tort/what-we-do (last referenced January 25, 2001). (emphasis added)
         Case 2:21-cv-01106-ILRL-KWR Document 1-1 Filed 06/08/21 Page 6 of 26



San Rafael, California. Upon information and belief KCC, LLC provides its services to firms

throughout the United States including the State of Louisiana, and the Parish of Orleans.


                                                 Ill,

                                 JURISDICTION AND VENUE

         9. This Court has subj ect matter jurisdiction over all matters alleged herein.


         10. This Court has personal jurisdiction over Defendant pursuant to the Louisiana


Long-ann Statute.


         11. KCC entered into an agreement with DLF in the State of Louisiana, Parish of


Orleans. KCC is providing services as a mass tort administrator to DLF whose business is


located in the State of Louisiana and has derived substantial revenue from such business in


Louisiana, and the basis of this suit arises out of such conduct.


         12. Venue is proper pursuant to Louisiana Code of Civil Procedure article 42(5)


because KCC is a foreign limited liability company and the Parish of Orleans is the Parish of the

plaintiffs domicile.


                                                 IV.


                                              FACTS

         13. On June 19,2015 DLF and KCC entered into a services agreement ("The


Agreement") whereby KCC agreed to provide mass tort administration services to DLF,


including intake and data management, retainer procurement, client data collection, document


processing and review, preparation of Plaintiff Fact Sheets, lien resolution and related services,


for prices and fees a set forth on a Fee Structure attachment to The Agreement.


         14. Between June 19,2015 and the present, DLF and KCC have exchanged numerous


emails and letters, and have engaged in numerous conversations regarding the fees due in


various ofDLF's mass tort cases for which KCC is providing varying mass tort administration

services, including those which include many claimants whose claims have a zero or negative

value.



         15. As a result of these conversations and emails, DLF has paid KCC reduced


amounts for said zero and negative value cases, and KCC has accepted those payments.


However, KCC now seeks to collect fees not contemplated by The Agreement, the


conversations, or the emails, in effect seeking fees not agreed to by DLF and/or not earned by


KCC.
        Case 2:21-cv-01106-ILRL-KWR Document 1-1 Filed 06/08/21 Page 7 of 26



         16. Pursuant to the fee structure the maximum per claimant fee KCC charges is


$3,250, of which $500 is considered a case retention fee which KCC is required to bill to DLF

within thirty (30) days ofKCC obtaining a retainer signed by the claimant, and a retained case

annual fee of $50 per retained case which KCC is required to bill annually in the last quarter of


each calendar year. The remainder of the deferred fee is to be paid by DLF when the claimant's


case concludes by settlement or verdict. The fee structure goes on to say that after payment of


the case review and case retention portion of the $3,250 fee the majority of the fee shall be

deferred to the conclusion of the case, payable upon the first distribution of monies from the


claimant's recovery.


         17. Pursuant to the fee structure DLF will pay a "break-up fee" of $250 for a retained


case that it instructs KCC to drop. Later emails and discussions applied only the break-up fee to


zero or negative value claims.


         18. Thus, the fee structure, as well as later discussions and communications


between the parties contemplates a successful outcome of the claim in order for KCC to recover


its full fee.


         19. KCC has failed to provide billing on an annual basis during the last quarter of

each calendar year as required under the agreement.


         20. KCC has failed to provide case retention billing to bill to DLF within thirty (30)

days ofKCC obtaining a retainer signed by the claimant as required under the agreement.


         21. Recently, KCC has attempted to bill DLF for full fees for claims in which there is

a zero or negative distribution to the claimants, contrary to The Agreement and its subsequent


discussions and agreements with DLF.


         22. In September of 2017 James Dugan wrote to KCC to dispute the July and August

invoices for transvaginal mesh claimants. Dugan noted that the agreement called for mesh


cases to be treated differently from other DLF cases and that invoice charges were in excess of


the agreement, that some charges were for work not done, and that some charges for medical


record retrieval were excessive. Dugan also reminded KCC that an itemized listing of all KCC


charges and medical record charges by provider had been requested for the mesh cases in June


and that KCC had still not provided them. Dugan again requested the itemization, and further


requested that the same itemization for all cases be provided every thirty days going forward.
         Case 2:21-cv-01106-ILRL-KWR Document 1-1 Filed 06/08/21 Page 8 of 26



         23. In the fall of 2018 Dugan. met with KCC to discuss the invoicing and pricing

issues for the DLF mass tort inventory. Thereafter, fees were paid by DLF to KCC pursuant to


these discussions.


         24. For example, ineligible clients (such as the vast majority of the In re: Testosterone


 clients-referred to as Low-T) on the inventory were paid only the $250 break-up fee. In Low-


 T, DLF had 108 claimants, 104 of which were disengaged because they did not meet the


 qualifying criteria for a valid claim. Thus, DLF paid KCC $30,726.77 which is a "breakup

 fee" of $26,000 ($250 per claim for the 104 not qualified claims), and $4,726.77 for the

 remaining four claims. This check was received and cashed by KCC in January 2019, yet two


 years later KCC sent DLF a Low-T bill seeking full payment for all Low-T claimants for a


 total of $286,370.67

         25. Additionally, DLF has made fee payments for disengaged and negative value


 cases, as well as some positive value cases from January 2019 through February of 2021 in the


 amount of $479,526.47. Despite the breahip fee agreements for such disengaged/negative


 value claims and KCC's practice of acceptance of those reduced amounts, KCC has presented


 a bill for full fees on all claims totaling to DLF for the fall amounts totaling over $2.5 million.

 DLF has disputed the invoice.

         26. By accepting reduced fees for non-qualifying cases, KCC has implied through its


 conduct its intention to waive or relinquish any right it asserts to collect full fees on all cases.


         27. In addition to billing for amounts not contemplated by the agreement for


 disengaged/negative value cases and implying through its conduct its agreement to accept such


 payments as final, but later charging fall value, KCC has breached the agreement in additional


 ways.


         28. KCC has been untimely in providing DLF with accumulated costs for settled DLF


clients which are necessary for DLF to provide settlement funds to its clients. For example, on


July 11, 2017, DLF requested via email that KCC provide an itemization ofKCC costs, if any,


for four AMS (mesh) clients named in the email. KCC responded the same day that they would

send over the costs as soon as possible. A week later, on July 18, 2017, DLF emailed asking


when DLF might receive the costs. KCC responded that it was following up. The next day,July


19, 2017, DLF replied that not having the costs is withholding disbursement to the clients and

again asked when the cost would be sent. KCC responded that they are "currently awaiting final
        Case 2:21-cv-01106-ILRL-KWR Document 1-1 Filed 06/08/21 Page 9 of 26



approval on the invoice for these individuals." The inability ofKCC to provide DLF with a

timely accounting delayed the clients' disbursement almost two weeks.


        29. Three weeks later, on August 10, 2017, KCC forward its invoice for the


remaining AMS clients. This invoice contained fall charges for some claims where no work


was done other than including the claimant in the database. Some of the claimants files were


charged a Plaintiff Fact Sheet (PFS) fee when in fact KCC did not complete any PFSs for any

of the DLF AMS clients. Some of the claimants files were billed for medical record order fees


when in fact there were none. DLF has also disputed this invoice.


                                                     V.


                                   DECLARATORY JUDGMENT

        30. Plaintiff repeats and re-alleges each and every allegation of this Petition and


  incorporates each allegation into this Count as if set forth in its entirety.


        31. This Court may, pursuant to La. C.C.P. article 1871 declare the rights, status, and


other legal relations whether or not further relief is or could be claimed.


        32. An actual controversy has arisen between Plaintiffs and Defendants as to the


rights, duties, responsibilities and obligations of the parties, as to one or more of the following:


(a) whether a fall fee is due for any claim that has a zero or negative value; (b) whether KCC is

in breach of the agreement by failing to provide timely billing pursuant to the terms of the

contract; (c) the amount payable to KCC for claims that have a zero or negative value; (d)


whether the original agreement constituted an enforceable contract and whether the subsequent


discussions and emails are enforceable amendments and/or modifications to the original


agreement; (e) whether KCC has implied through its conduct its intention to waive or relinquish

any right it asserts to collect fall fees on all cases.


        33. Resolution of the duties, responsibilities and obligations of the parties is necessary


as no adequate remedy at law exists and a declaration from the Court is needed to resolve the


dispute and controversy.


        34. Plaintiffs seek a Declaratory Judgement to establish the following:

            a. The amount payable to KCC for claims that have a zero or negative value;


            b. That KCC is in breach of the agreement by failing to provide timely billing

                pursuant to the terms of the contract;
      Case 2:21-cv-01106-ILRL-KWR Document 1-1 Filed 06/08/21 Page 10 of 26



            c. That the original agreement constituted an enforceable contract but that the terms


                are so vague and/or ambiguous that it fails to set a clear price agreeable to both


                parties and that the value ofKCC's services must be determined by quantum


                memit; or alternatively


            d. That the subsequent discussions and emails of the parties are enforceable


                amendments and/or modifications to the original agreement setting a clear price;


            e. That KCC, by its actions in accepting reduced fees for non-qualifying cases, has


                implied through its conduct its intention to waive or relinquish any right it asserts

                to collect fall fees on all cases.


                                                     VI.


                                     BREACH OF CONTRACT

        35. Plaintiff repeats and re-alleges each and every allegation of this Petition and


incorporates each allegation into this Count as if set forth in its entirety.


        36. KCC has billed DLF for the balance of deferred fees despite there being no

settlement or verdict for the claimant, contrary to The Agreement and its subsequent discussions


and agreements with DLF.


        37. KCC has not provided intake and data management in accordance with the terms


of the agreement, in all cases for which it seeks full fee payment.


        3 8. KCC has not provided retainer procurement in accordance with the terms of the


agreement, in all cases for which it seeks full fee payment.


        39. KCC has not provided client data collection services in accordance with the terms


of the agreement, in all cases for which it seeks full fee payment.


        40. K.CC has not provided document processing and review services in accordance


with the terms of the agreement, in all cases for which it seeks full fee payment.


        41. KCC has not prepared draft Plaintiff Fact Sheets nor has it collected the

information needed for such Plaintiff Fact Sheets in accordance with the terms of the agreement,


in all cases for which it seeks full fee payment.


        42. KCC has not provided lien resolution and related services in accordance with fhe


terms of the agreement, in all cases for which it seeks full fee payment.


        43. KCC has at times sought payment for obtaining and reviewing medical records


for some ofDLF's clients when no such work was in fact done by KCC.
           Case 2:21-cv-01106-ILRL-KWR Document 1-1 Filed 06/08/21 Page 11 of 26



           44. KCC has at times been delinquent in responding to requests for costs, and/or


delinquent in providing those costs, despite the urgency of the requests.


           45. KCC is entitled only to the fee owed for the work done pursuant to The

Agreement, as modified by the parties, and as evidence by the payment of fees by DLF and the


acceptance of those payments by KCC.

           46. In the event that finds the Agreement to be so vague and/or ambiguous in its


terms so as to be void or unenforceable, then KCC is entitled only to the quantum meruit value


of the services it performed.


                                                IX.


                                         JURY DEMAND

           47. Plaintiff, The Dugan Law Firm, APLC demand a trial by jury on all issues so

triable.


                                                 X.


                                     PRAYER FOR RELIEF

           WHEREFORE, Plaintiff, The Dugan Law Firm, APLC prays that this Petition be

deemed good and sufficient and the Defendant Kurtzman Carson Consultants, LLC be served


and cited to answer same, and that after due proceedings are had that there be a judgment herein


declaring the rights and obligations of the parties, and finding Kurtzman Carson Consultants,


LLC to be in breach of its agreement with The Dugan Law Firm, APLC and/or that the terms of

the agreement are so vague and/or ambiguous as to be unenforceable and that Kurtzman Carson


Consultants, LLC is only entitled to the quantum memit value of the services that it has


provided;


           And for an awarding of any damages that may be due in favor of the Dugan Law Firm,


APLC and against the Defendant Kurtzman Carson Consultants, LLC in an amount reasonable in


premises, and with interest thereon from the date of demand until paid, and all costs of these


proceedings, including expert and attorney fees, and for any and all such further relief as the


Court may find just and equitable in the premises.
       Case 2:21-cv-01106-ILRL-KWR Document 1-1 Filed 06/08/21 Page 12 of 26



        May 14, 2021 Respectfully submitted,




                                DAVID S. SCALIA, Esq. (#21369)
                                JAMES R. DUGAN, H, Esq. (#24785)
                                DOUGLAS R. PLYMALE, Ph.D, Esq. (#28409)
                                THE DUGAN LAW FIRM 365
                                Canal Street
                                One Canal Place, Suite 1000
                                New Orleans, Louisiana 70130
                                Telephone: (504) 648-0180
                                Facsimile: (504) 648-0181
                                idugan(%dugan-l awfirm.com
                                dscalia(%dugan-lawfirm. corn
                                drplvmale@,dugan-lawfimi.com



                            Attorneys for Petitioner The Dugan Law Firm, APLC



PLEASE SERVE:
Through the Louisiana Longarm Statute


KURTZMAN CARSON CONSULTANTS, LLC
222 N. Pacific Coast Highway, 3rd Floor
El Segundo, CA 90245
Case 2:21-cv-01106-ILRL-KWR Document 1-1 Filed 06/08/21 Page 13 of 26
Case 2:21-cv-01106-ILRL-KWR Document 1-1 Filed 06/08/21 Page 14 of 26
Case 2:21-cv-01106-ILRL-KWR Document 1-1 Filed 06/08/21 Page 15 of 26
Case 2:21-cv-01106-ILRL-KWR Document 1-1 Filed 06/08/21 Page 16 of 26
Case 2:21-cv-01106-ILRL-KWR Document 1-1 Filed 06/08/21 Page 17 of 26
Case 2:21-cv-01106-ILRL-KWR Document 1-1 Filed 06/08/21 Page 18 of 26
Case 2:21-cv-01106-ILRL-KWR Document 1-1 Filed 06/08/21 Page 19 of 26
Case 2:21-cv-01106-ILRL-KWR Document 1-1 Filed 06/08/21 Page 20 of 26
Case 2:21-cv-01106-ILRL-KWR Document 1-1 Filed 06/08/21 Page 21 of 26
Case 2:21-cv-01106-ILRL-KWR Document 1-1 Filed 06/08/21 Page 22 of 26
Case 2:21-cv-01106-ILRL-KWR Document 1-1 Filed 06/08/21 Page 23 of 26
Case 2:21-cv-01106-ILRL-KWR Document 1-1 Filed 06/08/21 Page 24 of 26
Case 2:21-cv-01106-ILRL-KWR Document 1-1 Filed 06/08/21 Page 25 of 26
Case 2:21-cv-01106-ILRL-KWR Document 1-1 Filed 06/08/21 Page 26 of 26
